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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    KOEHN DIALLO UHURU,                        Case No. 2:19-cv-10449-JVS-KES
 12                Plaintiff,
 13          v.                               ORDER ACCEPTING FINAL REPORT
                                               AND RECOMMENDATION OF U.S.
 14    JIM BONNIFIELD, et al.,                      MAGISTRATE JUDGE
 15                Defendants
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 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and all the
 19   records and files herein, along with the Final Report and Recommendation
 20   (“R&R”) of the United States Magistrate Judge. (Dkt. 30.) Further, the Court has
 21   engaged in a de novo review of those portions of the initial R&R to which
 22   objections have been made. (Dkt. 26.) The Court accepts the findings,
 23   conclusions, and recommendations of the United States Magistrate Judge.
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  1         IT IS THEREFORE ORDERED that:
  2         (1)   The following claims are dismissed with leave to amend:
  3               (a)   the ADA discrimination claims against Defendants Farao,
  4                     Reynoso, and Gomez;
  5               (b)   the Free Exercise and RLUIPA claims based on the denial of
  6                     permission to hold NHI religious banquets;
  7               (c)   the Free Exercise and RLUIPA claims based on the loss and/or
  8                     damage to Plaintiff’s Torah, keter, Star of David necklace, hot
  9                     pot, JWIN music player, and guitar;
 10               (d)   the Free Exercise and RLUIPA claims based on the confiscation
 11                     of musical instruments in July 2018;
 12               (e)   the Free Exercise and RLUIPA claims based on the work
 13                     assignment that required Plaintiff to work on the NHI sabbath,
 14               (f)   the Free Exercise and RLUIPA claims based on access to CMC
 15                     facilities for NHI group worship;
 16               (g)   the Fourteenth Amendment Equal Protection claim based on
 17                     discrimination against NHI religious adherents at CMC; and
 18               (h)   the claims arising from the April 2017 incident when Plaintiff
 19                     was allegedly sprayed with a fire extinguisher while praying on
 20                     a transfer bus;
 21               (i)   the claim that Plaintiff was denied access to the San Francisco
 22                     Bay View periodical for a year; and
 23               (j)   the claims arising from the strip search conducted in connection
 24                     with his transfer from CMC to CHCF.
 25         (2)   All other claims in the First Amended Complaint are dismissed
 26               without leave to amend.
 27         (3)   Although Plaintiff is granted leave to amend by filing a Second
 28               Amended Complaint, such leave is limited to the events and claims
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  1               described in the FAC and Objections and listed, and which occurred
  2               before the filing of the initial Complaint in December 2019.
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  6   DATED: November 02, 2020             ____________________________________
  7                                        JAMES V. SELNA
                                           UNITED STATES DISTRICT JUDGE
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